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                      THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL                        :
PROTECTION BUREAU,                        :
                                          :
                     Plaintiff,           :
                                          :   3:17-CV-101
      v.                                  :   (JUDGE MARIANI)
                                          :
NAVIENT CORPORATION, et al.,              :
                                          :
                     Defendants.          :

                                         ORDER

       AND NOW, THIS 15TH DAY OF JULY, 2021, the Court of Appeals for the Third

Circuit having denied Defendants’ Petition for Permission to Appeal under 28 U.S.C. §

1292(b), IT IS HEREBY ORDERED THAT the stay entered in the above-captioned action

on February 26, 2021 (Doc. 567) is LIFTED.



                                                 _s/ Robert D. Mariani___________
                                                 Robert D. Mariani
                                                 United States District Judge
